                Case 4:16-cv-00623-RGE-SBJ Document 143 Filed 07/20/18 Page 1 of 1


                            United States District Court for the Southern District of Iowa

Presiding: Honorable Rebecca Goodgame Ebinger
Case No. 4:16-cv-623-RGE-SBJ                : Clerk’s Court Minutes – Motion Hearing
______________________________________________________________________________________________________________________________________

Plaintiff(s)                                               : Defendant(s)
                                                           :
Thomas Rossley, Jr.                                        : Drake University and
                                                           : Drake University Board of Trustees
                                                           :
                                                           :
                                                           :
_______________________________________________________________________________________________________________________________________

Plaintiff(s) Counsel: Philip Arwood Byler, David Harris Goldman


Defendant(s) Counsel: Frances M. Haas, Mary E. Funk

Court Reporter: Terri Martin                                :   Interpreter: N/A
_______________________________________________________________________________________________________________________________________

Motion(s) for Ruling:                                                            Ruling           /     Ruling Reserved
______________________________________________________________________________________________________________________________________
Defs.' Mot. Summ. J., ECF No. 99                                                                  :             X
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_______________________________________________________________________________________________________________________________________

Proceedings:
Counsel for both parties appear. At 8:35am, Defendants' counsel argues in support of their motion. At 9:01am,
Plaintiff's counsel argues in support of his position. At 10:04am, Defendants' counsel presents rebuttal. At
10:12am, Court adjourns. Order to follow.




Time Start: 8:34am
Time End: 10:12am
Date: July 20, 2018                                                                       /s/ Clare J. Horan
                                                                                          __________________________
                                                                                          Deputy Clerk
